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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     May 4, 2020

BY ECF                                           Application granted. Speedy trial time
The Honorable Naomi Reice Buchwald               is excluded until September 18, 2020.
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007
                                                                         Dated: May 26, 2020
       Re:     United States v. Zachary Clark, 20 Cr. 76 (NRB)

Dear Judge Buchwald:

        The Government writes on behalf of the parties to respectfully request that the Court set a
deadline of September 18, 2020 for the Government’s submission of its ex parte motion pursuant
to Section 4 of the Classified Information Procedures Act (the “Section 4 Motion”) and for the
defendant’s submission of any pretrial motions in the above-referenced matter. At the March 4,
2020 conference pursuant to Section 2 of the Classified Information Procedures Act, the
Government requested a filing deadline in mid-July for its Section 4 Motion. The Court requested
an earlier submission to the extent feasible but did not set a precise deadline.

        To date, the Government has produced a substantial amount of discovery to the defense,
including, among other things, forensic images of the defendant’s electronic devices, a video of
the defendant’s post-arrest interview, extensive search warrant returns, voluminous controlled
communications between the defendant and undercover law enforcement officers and sources, and
screenshots of the defendant’s alleged online dissemination of content pertaining to terrorist
attacks and ISIS. The Government is currently coordinating with defense counsel to arrange
another significant production—after which discovery will be substantially complete—consisting
of, among other things, approximately eight terabytes of pole camera footage, additional controlled
communications involving the defendant, and additional terrorism-related content allegedly
disseminated by the defendant.

        In light of the ongoing coronavirus pandemic and corresponding disruption—including the
suspension of all legal visits to the Metropolitan Correctional Center, where the defendant is
currently detained—the parties respectfully submit that an adjournment of the deadline for the
submission of the Government’s Section 4 Motion and the defendant’s pretrial motions to
September 18, 2020 would allow sufficient time for the defense to review the voluminous
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discovery in this matter and confer with the defendant about any appropriate pretrial motions, and
for the parties to complete their respective briefing packages.

                                             Respectfully submitted,

                                             GEOFFREY S. BERMAN
                                             United States Attorney for the
                                             Southern District of New York

                                         By: ___________________________________
                                            Gillian S. Grossman / Matthew J.C. Hellman
                                            Assistant United States Attorneys
                                            (212) 637-2188 / 2278

cc:    Jonathan Marvinny, Esq. (by ECF)
